                            UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF TENNESSEE
                                  AT CHATTANOOGA


  UNITED STATES OF AMERICA                 )
                                           )      Case No. 1:17-cr-69
                                           )
  v.                                       )       Judge Mattice
                                           )
  RANDALL SCOTT ROUNSAVILLE                )
  MICHAEL GLASS                            )
  GINA GAMBINI                             )
  PHILLIP WAYNE KOGER                      )
  JAMES RICHARD WINNIE                     )
  TRAVIS MELTON                            )
  VAN CASSIDY BRIDGES                      )
  BEAU ANTHONY DELANEY                     )
  JAMES JONES                              )
  MAJESTA LYNNETT PIERCE                   )
  BRANDON HORTON                           )



                    ENDS OF JUSTICE CONTINUATION ORDER

          On November 6, 2017, United States Magistrate Judge Susan K. Lee ordered an

  evaluation pursuant to 18 U.S.C. §§ 4241 and 4242 to determine Defendant Randall Scott

  Rounsaville’s mental competency to stand trial and sanity at the time of the offense. [Doc.

  174].   Any period of time until the issue of Defendant Rounsaville’s competency is

  determined after the results of the psychiatric/psychological examination have been

  received by the Court and the Court has completed any hearings on that issue, is

  excludable for purposes of the Speedy Trial Act. 18 U.S.C. § 3161(h)(1)(A).

          Accordingly, it is ORDERED that the modified discovery and scheduling order

  [Doc. 158] is SET ASIDE.




Case 1:17-cr-00069-HSM-SKL Document 175 Filed 11/07/17 Page 1 of 2 PageID #: 788
         The Court will enter a new discovery and scheduling order when a determination

  has been made as to Mr. Rounsaville’s competency to stand trial and sanity at the time of

  the offense.

                 SO ORDERED this 7th day of November, 2017.



                                                    /s/ Harry S. Mattice, Jr._____
                                                    HARRY S. MATTICE, JR.
                                                 UNITED STATES DISTRICT JUDGE




Case 1:17-cr-00069-HSM-SKL Document 175 Filed 11/07/17 Page 2 of 2 PageID #: 789
